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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


 In re
                                                          Chapter 11

 Lordstown Motors Corp., et al.,1                         Case No. 23-10831 (MFW)

                                                          (Jointly Administered)
                                         Debtors.
                                                          Docket Nos. 961, 974, 976, 977, 981-987

 CERTIFICATION OF COUNSEL WITH RESPECT TO SECOND OMNIBUS ORDER
   AWARDING INTERIM ALLOWANCE OF COMPENSATION FOR SERVICES
          RENDERED AND FOR REIMBURSEMENT OF EXPENSES

         The undersigned hereby certifies the following:

         1.      On or about February 14, 2024, in accordance with Order Establishing Procedures

for Interim Compensation and Reimbursement of Expenses for Chapter 11 Professionals and

Committee Members [Docket No. 181], KPMG LLP, Silverman Consulting, Womble Bond

Dickinson (US) LLP, Huron Consulting Group., Inc., Brown Rudnick LLP, Morris James LLP,

Kurtzman Carson Consultants LLC, M3 Advisory Partners, L.P., Baker & Hostetler LLP, Jefferies

LLC, and White & Case LLP (each a “Professional” and, collectively the “Professionals”) filed

for the second interim period their interim applications (each an “Interim Application” and,

collectively, the “Interim Applications”) [Docket Nos. 961, 974, 976, 977, 981-987] with the

United States Bankruptcy Court for the District of Delaware (the “Court”).

         2.      Pursuant to the Interim Applications, objections to the Interim Applications, if any,

were to be filed and served no later than March 5, 2024 and March 7, 2024 at 4:00 p.m. (ET),




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            The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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respectively (the “Objection Deadline”). The Professionals received no other responses to the

Interim Applications and no objections or responses have been filed on the docket. The hearing

to consider the approval of the Interim Applications is currently scheduled for March 14, 2024 at

3:00 p.m. (ET).

       3.      The debtors and debtors in possession (collectively, the “Debtors”) in the above-

captioned chapter 11 cases prepared a proposed form of omnibus order (the “Proposed Order”)

approving the Interim Applications, attached hereto as Exhibit A. The schedule of professional

compensation attached as Exhibit 1 to the Proposed Order, accurately represents the fees and

expenses (including the reflection of any reductions) of the Professionals with respect to the

Interim Applications.

       WHEREFORE, the Debtors respectfully request that the Court enter the Proposed Order

attached hereto as Exhibit A without further notice or hearing at the Court’s earliest convenience.




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Dated: March 11, 2024                              WHITE & CASE LLP
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